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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

RICHMOND DIVISION
AMF BOWLING CENTERS, INC-.; § CIVIL ACTION No.
BOWLERO CORP. §
§  3:23-cv-00448-HEH
Plaintiffs, §
§
vs. §
§
THOMAS TANASE, §
§
Defendant. §
STIPULATION AND ORDER

Plaintiffs AMF Bowling Centers, Inc. and Bowlero Corp. (collectively, “Bowlero”) and
Defendant Thomas Tanase, by and through their undersigned counsel, hereby stipulate as
follows:

WHEREAS, Bowlero initiated the above-captioned Action on July 12, 2023, alleging
that Defendant Thomas Tanase violated the Computer Fraud and Abuse Act, the Virginia
Computer Crimes Act, and his employment contract, and committed trespass to chattels against
Bowlero’s computer systems;

WHEREAS, on July 12, 2023, Bowlero moved for a temporary restraining order and
preliminary injunction (the “Motion”) seeking to enjoin further unauthorized access to
Bowlero’s computer systems by Mr. Tanase, along with other relief itemized in Bowlero’s
Proposed Order (ECF No. 7-1).

WHEREAS, the Court scheduled a hearing for July 27, 2023 on the Motion;

WHEREAS, the Parties, having met and conferred through their undersigned counsel,

desire to resolve the Motion in advance of the hearing on the terms set forth below;
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THEREFORE, IT IS HEREBY STIPULATED and AGREED, by and between the

undersigned counsel for Bowlero and Tanase, subject to the Court’s approval, that:

1.

2.

The hearing scheduled for July 27, 2023, at 10 a.m. is cancelled.

Mr. Tanase shall comply with all post-employment obligations under his
Employment Agreement. The provisions of this Section 2 of the Order are without
prejudice to any claims that Clause 20 of the Employment Agreement addressing
non-compete restrictions are not enforceable.

Mr. Tanase, and any agents of Mr. Tanase and all those acting in active concert or
participation with Mr. Tanase, shall not access or extract any data from Bowlero’s
computers, computer systems, computer network, computer program, computer
devices, or data. However, nothing in this Section 3 shall limit the rights of Mr.
Tanase to conduct discovery in accordance with the Federal Rules of Civil
Procedure.

Mr. Tanase, and any agents of Mr. Tanase and all those acting in active concert or
participation with Mr. Tanase, shall not disclose to any third-party any Bowlero
proprietary material or confidential information contained on/in the devices,
documents, and media referenced in Paragraph 6.

Within 72 hours of the entry of this Order, Mr. Tanase shall identify to Bowlero’s
counsel of record, in writing and under oath, the identity and last-known contact
information, including the title, email address, telephone number, employer and
other identifying information in Mr. Tanase’s possession, custody or control, of the
individuals, groups, companies, governmental entities, or other persons or entities,

if any, to whom Mr. Tanase and, as applicable, Mr. Tanase’s agents and all of those
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acting in active concert with Mr. Tanase, have disclosed, transferred, published,
distributed, broadcasted, or marketed any Bowlero proprietary material or
confidential information obtained or accessed by Mr. Tanase.

6. Within 72 hours of the entry of this Order, Mr. Tanase and all of those acting in
active concert or participation with Mr. Tanase, shall make the following items in
their possession, custody, or control (and not previously returned to Bowlero)
available to Bowlero’s counsel of record for forensic imaging and data preservation
purposes: any computer (laptop and/or desktop) and every form of media, including
but not limited to electronic storage devices, external hard drives, zip drives,
memory sticks, jump drives, USB/flash drive devices, email accounts or other cloud
storage devices which contain or have ever contained Bowlero’s proprietary
material or confidential information obtained or accessed by Mr. Tanase, including
but not limited to the three USB devices connected to the Dell XPS laptop on June
6, 2023. Bowlero, Bowlero’s counsel of record and any vendor and/or agent of
Bowlero shall not open, examine, analyze, image, or review any devices returned
pursuant to this Paragraph 6 until entry of a protocol governing discovery of
electronically stored information (the “ESI Protocol”). However, notwithstanding
the above, any phone provided by Mr. Tanase shall be imaged and returned as
quickly as possible, but Bowlero, Bowlero’s counsel of record and any vendor
and/or agent of Bowlero shall not otherwise open, examine, analyze, image, or
review any such phone until entry of the ESI Protocol. The Parties agree to submit
the ESI Protocol to this Court no later than August 3, 2023. The Parties shall work

together in good faith to agree to the ESI Protocol. The ESI Protocol shall set forth
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appropriate provisions to protect (1) the Parties’ personal and confidential
information from disclosure; (2) any attorney/client communications from
disclosure; and (3) any attorney work product documents or information
from disclosure. Nothing in this Order or the ESI Protocol shall constitute a
waiver of the attorney/client privilege and/or the work product doctrine.

di Pursuant to Federal Rule of Civil Procedure 26(d)(1), the Parties may commence
discovery and any limits on discovery that would be applicable to the Parties before
any Rule 26(f) conference shall be and hereby are waived, except that no discovery
(beyond that required by the foregoing Stipulation and Order) shall occur before
the Parties’ filing of the ESI Protocol.

8. This Order is issued without prejudice to Bowlero seeking further additional
discovery or other relief as appropriate, including further equitable or legal relief.

9. This Order shall become immediately effective upon its entry.

It is so ORDERED.

Date: July al, 2023 Mss

Ss
Henry E. Hudson
United States District Court Judge

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WE ASK FOR THIS:

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